Case 1-18-42753-cec Doc1 Filed 05/11/18 Entered 05/11/18 10:47:25

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
EASTERN DISTRICT OF NEW YORK

Case number (if known) Chapter 11

 

O Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Hunan Manor LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification  XX-XXXXXXX

 

 

 

 

 

 

 

 

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
339 Lexington Ave
New York, NY 10016
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
New York Location of principal assets, if different from principal
County place of business
Number, Street, City, State & ZIP Code
5. Debtor's website (URL)
6. Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

0 Partnership (excluding LLP)
[1 Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1
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Debtor Hunan Manor LLC
Name

Case number (if known)

 

7. Describe debtor's business A. Check one:

1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
C1 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ Railroad (as defined in 11 U.S.C. § 101(44))

CO Stockbroker (as defined in 11 U.S.C. § 101(53A))

0 Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) Clearing Bank (as defined in 11 U.S.C. § 781(3))

Hi None of the above

B. Check ail that apply

0 Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
0 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See htto://www.uscourts.gov/four-digit-national-association-naics-codes.

 

2511
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C1 Chapter 7
] Chapter 9

Mi Chapter 11. Check aif that apply:

HM Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

Ml The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oO

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

0 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 17
(Official Form 201A) with this form.

C1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a

separate list.

Hi No.
CJ Yes.

District When Case number

 

District When Case number

 

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

C1 No
Hl yes.

Debtor See Attachment Relationship

 

District When Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-18-42753-cec

Case number (if known)

 

Debtor Hunan Manor LLC
Name
11. Why is the case filed in Check ail that apply:

this district?

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CsDebtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

™@ = =§=Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

MNo
D1 Yes.

Why does the property need immediate attention? (Check ail that apply.)

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

(1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

C It needs to be physically secured or protected from the weather.

(1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

0 Other

 

Where is the property?

Is the property insured?
C1 No
OG yYes._ Insurance agency

Contact name
Phone

 

Number, Street, City, State & ZIP Code

 

 

 

 

a Statistical and administrative information

 

 

 

 

13. Debtor's estimation of Check one:
available funds
i Funds will be available for distribution to unsecured creditors.
Cl After any administrative expenses are paid, no funds will be available to unsecured creditors.
14. Estimated number of Mi 1-49 0 1,000-5,000 1 25,001-50,000
creditors Cl 50-99 DF 5001-10,000 CO 50,001-100,000
OC 100-199 CD 10,001-25,000 0 More than100,000
1 200-999
15. Estimated Assets Mi $0 - $50,000 C) $1,000,001 - $10 million ( $500,000,001 - $1 billion
1 $50,001 - $100,000 DF $10,000,001 - $50 million CF $1,000,000,001 - $10 billion
0 $100,001 - $500,000 0 $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
1 $500,001 - $1 million (C1 $100,000,001 - $500 million C More than $50 billion
16, Estimated liabilities C1 $1,000,001 - $10 million C1 $500,000,001 - $1 billion

so - $50,000

C1 $50,001 - $100,000
1 $100,001 - $500,000
(3 $500,001 - $1 million

[ $10,000,001 - $50 million
(1 $50,000,001 - $100 million
C1] $100,000,001 - $500 million

0 $1,000,000,001 - $10 billion
( $10,000,000,001 - $50 billion
O More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
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j

Debtor Hunan Manor LLC Case number (f known)

Name

 

HEE Request for Relief, Declaration, and Signatures

WARNING — Bankniptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1341, 1519, and 3571.

97. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor
| have been authorized fo file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is ued and correct,

| declare under penalty of perjury that the foregoing is tue and correct.

Executedon May 9, 2018
MM / DD i YYYY

Zhida Li
Printed name

 

 

 

 

18. Signature of attorney x a Date May 9, 2075

Signature of attomey for debtor MM / OD IYYYY

Lawrence F. Morrison
Printed name

Morrison Tenenbaum, PLLC
Firm name

87 Waiker Street, Second Floor
New York, NY 10073
Number, Street, City, State & ZIP Code

 

 

Contact phone 242-620-0938 Emailaddress info@m-tlaw.com
2889590 NY
Bar number and State
Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 4

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Debtor Hunan Manor LLC Case number (if known)

 

 

Name

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

 

Case number (if known) Chapter 11

 

O Check if this an
amended filing

 

 

FORM 201, VOLUNTARY PETITION

Pending Bankruptcy Cases Attachment

 

 

 

 

Debtor A Taste of Mao, Inc. Relationship to you Affilliate
District Eastern District of New York When _ 5/41/18 Case number, if known 18-42750
Debtor Hunan House Inc. Relationship to you Affiliate

District EDNY When 55/11/18 Case number, if known 18-42752

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 5
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United States Bankruptcy Court
Eastern District of New York

Inre _Hunan Manor LLC Case No.
Debtor(s) Chapter "1

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attomey for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

= —

Date: May &, 2018 _

 

 

“Yhida Li/President
Signer/Title
_ USBC-44 Rev. 9/17/98
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Baojun Tian

c/o Troy Law

41-25 Kissena Blvd
Suite 119
Flushing, NY 11355

Guo Yong Zhu

c/o Lee Litigation Group
30 E. 39th Street, 2nd FL
New York, NY 10016

Guoqiang Xu

c/o Troy Law

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Suite 119
Flushing, NY 11355

Jian Cai

c/o Troy Law

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Suite 119
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Jixiang Wang

c/o Troy Law

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Lianhe Zhou

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Min Jiang

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Ming Da Ke

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Qifang Chen

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Shi Ming Chen

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Shigiang Gao

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Wei Min Zhu

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Xinlong Liu

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Yong Kang Liu

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United States Bankruptcy Court
Eastern District of New York

Inre | Hunan Manor LLC Case No.

 

Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _Hunan Manor LLC _ in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

200 CPS Investment Corp.

200 Central Park South

Apt 21J
New York, NY 10019

O None [Check if applicable]

 

Date 0 Lawrence F. Morrison
Signature of Attorney or Litigant
Counsel for Hunan Manor LLC
Morrison Tenenbaum, PLLC

87 Walker Street, Second Floor
New York, NY 10013
212-620-0938 Fax:646-390-5095
info@m-t-law.com

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): _Hunan Manor LLC CASE NO.:.

 

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)

have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

OC NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: 18-42750 JUDGE: DISTRICT/DIVISION: Eastern District of New York
DEBTOR NAME: A Taste of Mao, Inc.
CASE STILL PENDING (Y/N):  ¥ [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affilliate

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: __

2. CASE NO.: 18-42752 JUDGE: DISTRICT/DIVISION: EDNY

DEBTOR NAME: Hunan House Inc.

CASE STILL PENDING (Y/N): Y [Uf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): [if closed] Date of closing:
(OVER)

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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

| am admitted to practice in the Eastern District of New York (Y/N): __Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.

Lawrence F. Morrison

Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner
Morrison Tenenbaum, PLLC

87 Walker Street, Second Floor
New York, NY 10013
212-620-0938 Fax:646-390-5095 Signature of Pro Se Joint Debtor/Petitioner

 

 

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

USBC-17 Rev.8/1 1/2009

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X Chapter 11
IN RE: Hunan Manor LLC
Case No.:
Debtor(s) STATEMENT PURSUANT TO LOCAL RULE 2017
Xx

 

|, Lawrence F. Morrison, an attorney admitted to practice in this Court, state:
1. That! am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
above-named debtor(s):

Date\Time Services

Initial interview, analysis of financial
April 30, 2018 condition, etc.

Preparation and review of
May 7, 2018 Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.
4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

ge
5. That my usual rate of compensation of bankruptcy matters of this type is $ SOS

fo

Lawrence F. Morrison

Attorney for debtor(s)
Morrison Tenenbaum, PLLC
87 Walker Street, Second Floor
New York, NY 10013

Dated:

212-620-0938 Fax:646-390-5095
info@m-t-law.com

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United States Bankruptcy Court
Eastern District of New York

Inrc Hunan Manor LLC Case No.
Debtor(s) Chapter 11

 

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for fiting in this Chapter I1 Case

 

Name and last known address or place of | Security Class Number of Securities Kind of Interest
business of holder

200 CPS Investment Corp. 99%
200 Central Park South

Apt 275

New York, NY 10019

Zhida Li 4%

201-07 19th Ave.
Bayside, NY 11360

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

7]

Date May 9, 2018 Signature 7

Zhida Li

Penalty for making a faise statement of concealing property: Fine of up to $500,000 or imprisonment for up io 5 years or both.
IB USC. 3§ 152 and 3571.

Sheet 1 of 1 in List of Equity Security Holders

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re:
Chapter 11
HUNAN MANOR LLC,
Case No. 18- ( )
Debtor.
xX
CORPORATE RESOLUTION

At the meeting of the Board of Directors of Hunan Manor LLC (“Hunan Manor”), a New
York limited liability company, it was determined to be in the best interests of Hunan Manor to
file for bankruptcy under Chapter 11 of the United States Bankruptcy Code and the followmg
resolution wes adopted:

Whereas, it is in the best interest of this company to file a voluntary
petition in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11
of the United States Code;

Be It Therefore Resolved, that Zhida Li, President of this company, is
authorized and directed to execute and deliver all documents necessary to perfect
the filing of a chapter 11 veluntary bankruptcy case on behalf of the company;
and

Be It Further Resolved, that Zhida Li, President of this company, is
authorized and directed to appear in all bankruptcy proceedings on behalf of the
company, and to otherwise do and perform all acts and deeds and to execute and
deliver all necessary documents on behalf of the company in connection with such
bankruptcy case; and

Be It Further Resolved, that Zhida Li, President of this company, is
authorized and directed to employ Lawrence F. Morrison, attorney and the law
firm of Morrison Tenenbaum, PLLC to represent the company in such bankruptcy
case

Dated: New York, New York
May 8, 2018

Bye

Zhida Li, President

Ny
he

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Case 1-18-42753-cec Doc1 Filed 05/11/18 Entered 05/11/18 10:47:25

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
Chapter 11
HUNAN HOUSE INC,
Case No. 18- ( )
Debtor.
x

 

DECLARATION PURSUANT TO E.D.N.Y. LOCAL BANKRUPTCY RULE 1007

I, Zhida Li, duly sworn, depose and say under penalty of perjury and the laws of the United States
of America pursuant to 28 U.S.C. § 1746:

1. I am the President of HUNAN HOUSE INC. (“Debtor”), and as such I am familiar
with the operations, business and financial affairs of the Debtor. I submit this Affidavit in
accordance with the E.D.N.Y. Local Bankruptcy Rules in support of the voluntary petition filed
by the Debtor under Chapter 1 lof title 11 of the United States Code (“Bankruptcy Code”).

2. There is no pending bankruptcy case against the Debtor and this petition is filed as
a voluntary Chapter 11 proceeding. The Debtor’s case is related to the bankruptcy case of A Taste
of Mao Inc., 18-42750.

3. The Debtor operates a restaurant located at 40 West 56" Street, New York NY
10019. The Debtor was incorporated on February 28, 2013.

4, The Debtor is filing a voluntary petition under Chapter 11 of the Bankruptcy Code
due to a pending lawsuit in a Federal Labor Standards Act action in the District Court for the
Southern District of New York, which it cannot afford to defend.

5. The Debtor is owned 99% by 200 CPS Investment LLC and 1% by Zhida Li.

6. A list of the Debtor’s top twenty (20) largest unsecured creditors is annexed hereto

as Exhibit “A”.
Case 118-42 753-cec Doc1 Filed 05/11/18 Entered 05/11/18 10:47:25

7. Currently, the estimated average monthly revenue is about $560,000-$600,000 per
month. The Debtor has 35-40 employees, and the estimated average monthly payroll is

approximately $80,000-S 100,000, including payroll taxes. The other expenses are as follows:

a. Officer compensation: $800 per week
b. Estimated Cost of Goods Sold: about $250,000 a month
c. Estimated Operating expenses, incl. rent: about $140,000 a month.

8. All required schedules, if not filed with the voluntary petition on the date of filing,
will be filed within fourteen (14) days of the date filing the Debtor’s voluntary petition, which will

provide a list of the Debtor’s assets, secured creditors and other information required.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on May 9, 2018.
™

By: Zhida Li

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Fill in this information to identify the case:
Debtor name | Hunan Manor LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW O Check if this is an

 

YORK
Case number (if known): amended filing

 

 

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim

complete mailing address, | and email address of (for example, trade is contingent, | If the claim is fully unsecured, fill in only unsecured claim amount. If

including zip code creditor contact debts, bank loans, unliquidated, or | claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff

Baojun Tian Unliquidated $0.00

c/o Troy Law Disputed

41-25 Kissena Blvd

Suite 119

Flushing, NY 11355

Guo Yong Zhu Unliquidated $0.00

c/o Lee Litigation Disputed

Group

30 E. 39th Street,

2nd FL

New York, NY 10016

Guogiang Xu Unliquidated $0.00

clo Troy Law Disputed

41-25 Kissena Blvd

Suite 119

Flushing, NY 11355

Jian Cai Unliquidated $0.00

clo Troy Law Disputed

41-25 Kissena Blvd

Suite 119

Flushing, NY 11355

Jixiang Wang Unliquidated $0.00

clo Troy Law Disputed

41-25 Kissena Bivd

Suite 119

Flushing, NY 11355

Lianhe Zhou Unliquidated $0.00

c/o Troy Law Disputed

41-25 Kissena Blvd

Suite 119

Flushing, NY 11355

Min Jiang Unliquidated $0.00

clo Troy Law Disputed

41-25 Kissena Blvd

Suite 119

Flushing, NY 11355

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Case 1-18-42753-cec

Debtor
Name

Hunan Manor LLC

Case number (if known)

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Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade
debts, bank loans,
professional services,

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

Ming Da Ke

clo Troy Law

41-25 Kissena Bivd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Qifang Chen

clo Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Shi Ming Chen

clo Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Shiqiang Gao

clo Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Wei Min Zhu

clo Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Xinlong Liu

c/o Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Unliquidated
Disputed

$0.00

 

Yong Kang Liu

clo Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

 

 

 

 

Unliquidated
Disputed

 

 

$0.00

 

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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